          Case 3:23-cv-01409-TLT Document 11 Filed 04/05/23 Page 1 of 2




 1 BURSOR & FISHER, P.A.
   L. Timothy Fisher (State Bar No. 191626)
 2 Jenna L. Gavenman (State Bar No. 348510)
   1990 North California Boulevard, Suite 940
 3 Walnut Creek, CA 94596
   Telephone: (925) 300-4455
 4 Facsimile: (925) 407-2700
   E-Mail: ltfisher@bursor.com
 5         jgavenman@bursor.com
 6 Attorneys for Plaintiff

 7                                  UNITED STATES DISTRICT COURT
 8                               NORTHERN DISTRICT OF CALIFORNIA
 9
   CHRISTINA NOORI, individually and on         Case No. 3:23-cv-01409-TLT
10 behalf of all others similarly situated,
                                                NOTICE OF VOLUNTARY DISMISSAL
11                                              PURSUANT TO FED. R. CIV. P. 41(a)(1)(A)(i)
                             Plaintiff,
                                                WITH PREJUDICE
12
           v.
13
     KINDERFARMS LLC,
14

15                           Defendant.

16

17

18
19

20

21

22

23

24

25

26
27

28
     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE
     CASE NO. 3:23-cv-01409-TLT
          Case 3:23-cv-01409-TLT Document 11 Filed 04/05/23 Page 2 of 2




 1         Federal Rule of Civil Procedure 41(a)(1)(A)(i) provides that “the plaintiff may dismiss an

 2 action without a court order by filing … a notice of dismissal before the opposing party serves

 3 either an answer or a motion for summary judgment.” Accordingly, Plaintiff Christina Noori

 4 hereby dismisses, with prejudice, all claims against Defendant. Each party shall bear its own costs.

 5

 6 Dated: April 5, 2023                          Respectfully submitted,

 7                                               BURSOR & FISHER, P.A.
 8
                                                 By:      /s/ L. Timothy Fisher
 9
                                                 L. Timothy Fisher (State Bar No. 191626)
10                                               Jenna L. Gavenman (State Bar No. 348510)
                                                 1990 North California Boulevard, Suite 940
11                                               Walnut Creek, CA 94596
12                                               Telephone: (925) 300-4455
                                                 Facsimile: (925) 407-2700
13                                               E-Mail: ltfisher@bursor.com
                                                         jgavenman@bursor.com
14
                                                 Attorneys for Plaintiff
15

16

17

18
19

20

21

22

23

24

25

26
27

28
     NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE                                                     1
     CASE NO. 3:23-cv-01409-TLT
